       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Joshua Stanton
        v. Virginia Beach – Fire Operations
        Record No. 0344-23-1
        Opinion rendered by Judge Athey on
         January 30, 2024

    2. Katie Orndoff
       v. Commonwealth of Virginia
       Record No. 0973-21-4
       En banc order rendered by Chief Judge Decker on
        February 6, 2024

    3. Dennis Christopher Howard
       v. Sheriff Roger L Harris, et al.
       Record No. 1499-22-2
       Opinion rendered by Judge Callins on
        March 5, 2024

    4. Christopher O. Parrish
       v. Mikeya Vance
       Record No. 1687-22-4
       Opinion rendered by Judge Causey on
        March 12, 2024

    5. Christopher Pompell
       v. Commonwealth of Virginia
       Record No. 1246-23-3
       Opinion rendered by Judge O’Brien on
        March 26, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Katherine Louise Carter
   v. Wake Forest University Baptist Medical Center, et al.
   Record No. 0309-22-3
   Opinion rendered by Judge White
     on March 7, 2023
   Judgment of Court of Appeals affirmed by opinion rendered on May 9, 2024
    (230260)

2. Jason Lamont Burford
    v. Commonwealth of Virginia
   Record No. 1275-22-4
    Opinion rendered by Judge Athey
      on August 8, 2023
    Refused (230708)
       The Supreme Court issued opinions in the following cases, which had been appealed from
this Court:

    1. Montalla, LLC
       v. Commonwealth of Virginia
       Record No. 0127-22-2
       Memorandum opinion rendered by Judge Friedman on April 25, 2023
       Judgment of Court of Appeals reversed and matter remanded to this Cour to remand to the
        trial court by opinion rendered on May 9, 2024
       (230365)

    2. Stephen Lamar Garrick
       v. Commonwealth of Virginia
       Record No. 1415-21-1
       Memorandum opinion rendered by Judge Causey on May 30, 2023
       Judgment of Court of Appeals reversed and final judgment entered reinstating decision of
         trial court by opinion rendered on May 9, 2024
       (230511)

    3. Tony Jacob Thomas
       v. Commonwealth of Virginia
       Record No. 1234-21-4
       Memorandum opinion rendered by Judge AtLee on April 11, 2023
       Judgment of Court of Appeals reversed and matter remanded to this Court for remand to
         the trial court for further proceedings by opinion rendered on May 30, 2024
       (230403)
